                 Case: 05-30027       Document: 159        Filed: 02/08/06       Page 1 of 1



                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF SOUTH DAKOTA

In re:                                               )     Bankr. No. 05-30027
                                                     )     Chapter 11
SI TANKA UNIVERSITY                                  )
Tax I.D. XX-XXXXXXX                                  )     EXHIBIT      AND WITNESS LIST FOR
                  Debtor                             )     HEARING      HELD FEB. 8, 2006
                                                     )     ON U.S.      TRUSTEE’S MOTION TO
                                                     )     DISMISS      OR CONVERT TO CHAPTER 7

                                               EXHIBITS


Identification     Offered   Received    Refused    Description

US Trustee 1          X           X                      Si Tanka University Cash Flow Analysis
US Trustee 2          X           X                      Draft Monies on Hand Jan. 06 - May 06
US Trustee 3          X           X                      Bankruptcy Depository Monthly Report

These exhibits are located in the exhibit folder of the Court's file and will be maintained there until
they are returned to the offering party pursuant to an order of the Court or the main case is closed.


                                              WITNESSES

Name                             Address and Brief Description

Craig A. Bumann                   Sr. Bankruptcy Analyst, U.S. Trustee’
                                                                      s Office


        Dated this 8th day of February, 2006.



                                         s/s Nita Sarvis
                                         Courtroom Deputy
